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AO 199A (Rev. 06/19) Order Setting Conditions of Release Pagselof 3 Pages

SSS re
UNITED STATES DISTRICT COURT

for the
Northern District of Ohio

United States of America
Vi

Taha Albanna Case No. 1:22 CR 236-2

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Defendant
ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

 

Place

 

on

 

Date and Time
If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(CZ) (6) The defendant is placed in the custody of:
Person or organization

 

Address (only if above is an organization)
City and state Tel. No.

 

 

 

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:

 

Custodian Date
(]) (7) The defendant must:
(I¥]) (a) submit to supervision by and report for supervision to the U.S. Pretrial Department
telephone number 216-357-7300 . no later than as directed by the officer - 4:00 PM Today
(() (b) continue or actively seek employment.
(LC) (c) continue or start an education program.
( [V]) (d) surrender any passport to: to the extent you have any

 

 

 

(L¥]) (©) not obtain a passport or other international travel document.
(17]) (H abide by the following restrictions on personal association, residence, or travel: Northern District of Ohio

 

 

(L¥]) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: co-defendants

 

 

(C1) (hb) get medical or psychiatric treatment:

 

 

 

(LJ) @ return to custody each — at / o’clock after being released at o'clock for employment, schooling,
or the following purposes:

 

 

(L_]) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.
(Y) (k) not possess a firearm, destructive device, or other weapon.

((_]) (@ notuse aleohol( (CJ )atall ( [[] ) excessively.

( _) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

(LJ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
of prohibited substance screening or testing.

(L)) (©) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

(L)) (p) participate in one of the following location restriction programs and comply with its requirements as directed.

((-]}) @ Curfew. You are restricted to your residence every day ( C] ) from to ,or (L_])as
directed by the pretrial services office or supervising officer; or

(CL) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services:
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

(E) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court: or

(LZ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
you must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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ADDITIONAL CONDITIONS OF RELEASE

(ib (q) submit to the following location monitoring technology and comply with its requirements as directed:
(£]) @ Location monitoring technology as directed by the pretrial services or supervising officer; or
(C1) (i) Voice Recognition: or
(LJ) Gl) Radio Frequency; or
(LD) tiv) GPS.

(Eh {t) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
officer.

dz) (s} report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, meluding arrests,
questioning, or traffic stops.

Ch) ©

 

 

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of
your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

ACKNOWLEDGMENT OF DEFENDANT

Lacknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth

above.
yy fel
TAM s LALEL

Defendants Signature

Directions to United States Marshal

The defendant is ORDERED released after processing.

[2] The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified.

DATE: June 1, 2022 CarmeunNendereen

Judicial Officer's Signature

Carmen E. Henderson, United States Magistrate Judge
Printed Name and Title
